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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 JOHN THOMSON,                                         )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )        No. 1:23-cv-00099-SEB-MG
                                                       )
 ROCHE DIAGNOSTICS CORPORATION,                        )
                                                       )
                               Defendant.              )

                                               ORDER

        Pending before the Court is Defendant's Unopposed Motion to Maintain Document Under

 Seal, [77]. Defendant's Motion is DENIED.

        There are several issues with Defendant's motion, Appendix of Exhibits in Support of

 Motion for Summary Judgment, and Sealed Exhibits. [Filing No. 77; Filing No. 80; Filing No. 81].

 Most importantly, Defendant references one set of sealed exhibits in its Appendix and asks for

 another set to be sealed but does not include the correct exhibits with its sealed filing. 1 That will

 not do. This alone supports denying Defendant's motion.

        As such, Defendant has two options. First, Defendant must re-file its Motion to Seal. Next,

 if it is referencing an exhibit that has already been sealed, it may use a slip sheet labeled as the

 exhibit title and references the docket entry that previously sealed the exhibit. Or, Defendant may

 re-file each exhibit referenced and the Court will seal them in this new capacity. What cannot be


 1
   In Defendant's Appendix, Defendant references Exhibits 1, 3, 5, 7 and 9 to Plaintiff's Deposition
 (identified as sealed filings). [Filing No. 80 at 1.] In Defendant's Motion to Maintain Documents
 Under Seal, it seeks to seal Exhibits 1-9 to Plaintiff's Deposition, of which Exhibits 2, 4, 6, and 8
 have already been sealed by a prior Order. [See Filing No. 77 at 1-2; Filing No. 78 at 3.] In
 Defendant's Sealed Exhibits filing, Defendant submits only Exhibits 6-9 of Plaintiff's Deposition,
 and omits Exhibits 1-5. [See Filing No. 81-2.]
                                                   1
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 done is to reference exhibits in the proposed order that are not included in the attached filing to the

 Motion to Seal (or the Appendix of Exhibits in Support of Motion for Summary Judgment).

        On a similar note, the Exhibits to Ron DeNinzo's deposition submitted by Defendant are

 labeled as Exhibits to Jason Fowler's deposition and two exhibits are misidentified in Defendant's

 Motion to Seal as compared to the Sealed Exhibits. 2 A similar situation occurred; two exhibits to

 Jason Fowler's Deposition are misidentified in Defendant's Motion to Seal as compared to the

 Sealed Exhibits. 3 This further confuses the filing and the Court. While many of the documents

 referenced may be identical, Defendant must clearly identify each individual document that was

 used as exhibits for the separate depositions to maintain the accuracy of citations and filings. Also,

 Defendant is encouraged to review its appendix and verify it is not omitting documents it intends

 to seal; and conversely, not including exhibits in its appendix that are not cited to within its brief

 in support.

         The Court has corresponded with the parties, but confusion remains, and regardless, the

 proposed order will not be granted in its current form. Defendant's Motion to Seal, [77], is

 DENIED. The Clerk is directed to STRIKE Filing No. 81 from the docket. Defendant is

 ORDERED to re-file its Motion to Seal and Sealed Exhibits, paying close attention to ensure that

 its naming conventions are consistent and accurate, and that each document it seeks to seal is filed




 2
   Defendant states that it is requesting the sealing of: "(1) Exhibit 1: 2018 RDC-107; (2) Exhibit
 5: 2018 ICP," however Defendant filed Exhibit 1 as 2018 ICP and Exhibit 5 as 2018 RDC-107.
 [See Filing No. 77 at 2; Filing No. 81-1 at 1-35.]
 3
   Defendant states that it is requesting the sealing of: "(1) Exhibit 1: 2018 RDC-107; (2) Exhibit
 5: 2018 ICP," however Defendant filed Exhibit 1 as 2018 ICP and Exhibit 5 as 2018 RDC-107.
 [See Filing No. 77 at 2; Filing No. 81-3 at 1-35.]
                                                   2
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 as an attachment (or otherwise) to its new motion to seal. Defendant should file its new motion

 and sealed exhibits within 14 days of this Order.




     Date: 3/15/2024
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 Distribution via ECF to all counsel of record.




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